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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS




In re EPIPEN (EPINEPHRINE
INJECTION, USP) MARKETING,                         Case No. 2:17-MD-2785-DDC-JJ
SALES PRACTICES AND                                (MDL No. 2785)
ANTITRUST LITIGATION


This Document Relates to CLASS CASES.


               JOINT REPORT ON CONFIDENTIALITY DESIGNATIONS

       On December 18, 2018, the Court denied Class Plaintiffs’ Unopposed Motion to File

Under Seal and stated that Class Plaintiffs “may renew their Motion seeking leave to file under

seal, but only if they provide an explicit explanation showing why a sealed filing of the entire

Memorandum is appropriate and why each of the 92 exhibits is entitled to sealed protection.”

Dkt. 1372 at 4 (emphasis in original).

       Class Plaintiffs do not intend to seal the entire memorandum. Only those portions that

reflect information deemed Confidential or Highly Confidential by the Court will be redacted.

The exhibits at issue in Class Plaintiffs’ motion for class certification were designated as

Confidential or Highly Confidential by the Mylan and Pfizer Defendants (collectively,

“Defendants”), a limited number of third parties in response to document subpoenas, and Sanofi.

Accordingly, Class Plaintiffs and Defendants have conferred in good faith about the best

approach to resolve the matters identified by the Court. Class Plaintiffs and Defendants submit

this joint report to provide an outline of the process by which they intend to address the issues

that have been raised. Class Plaintiffs and Defendants propose as follows:
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1. The parties will review any materials included in Class Plaintiffs’ submission that each

   may have designated as Confidential or Highly Confidential to determine which

   documents may be de-designated and filed publicly.

2. Class Plaintiffs have already or will contact Sanofi and the third parties whose documents

   or testimony are cited in the memorandum in support of Class Plaintiffs’ class

   certification motion to determine whether Sanofi or any such third-party documents or

   testimony may be de-designated.

3. Following the review of their relevant materials, if Defendants, Sanofi or a third-party

   believe their documents should remain under seal pursuant to the standard stated in the

   Court’s Order, that producing party will provide Class Plaintiffs with a description of the

   basis for the designation within ten business (10) days of the filing of this Report.

4. Within two (2) business days of their receipt of the materials referenced in the preceding

   paragraph, Class Plaintiffs will renew their Motion seeking leave to file under seal the

   relevant portions, and will include the bases for the confidentiality designations as an

   attachment to the Motion. If Class Plaintiffs disagree with the asserted basis for the

   confidentiality designation of a document, Class Plaintiffs will include a simple statement

   noting their disagreement without further argument. Class Plaintiffs and Defendants

   acknowledge that the party or third party asserting confidentiality has the burden of

   establishing that the designation is proper.

5. Within ten (10) business days of an order of the Court either granting the Motion or

   modifying the confidentiality designations, Class Plaintiffs will file a redacted version of

   the Memorandum in Support of Motion for Class Certification and revised declaration,

   attaching exhibits in support thereof, that reflect the Court’s findings.




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       Should the Court have any questions about this proposal, Class Plaintiffs and Defendants

are available to conduct a telephone conference with the Court to discuss this process and any

alternative preferences that the Court may have. In the interim, Class Plaintiffs and Defendants

will move forward with this process as expeditiously as possible.

Dated: January 11, 2019                             Respectfully submitted,

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